                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ROXANNE THOMPSON                                   :      CIVIL ACTION
                                                   :
      v.                                           :
                                                   :
KATHY L. RUMER, et al                              :
                                                   :      NO. 18-3817
                                                   :
                                                   :


                                           ORDER


      AND NOW, this 3rd day of March, 2020, IT IS HEREBY ORDERED that in light of
Judge Wolson’s suspense order, the settlement conference scheduled for March 10 is cancelled.
Counsel shall copy Judge Hey when updating the Court on the status of the case.




                                                   BY THE COURT:

                                                   /s/ ELIZABETH T. HEY

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                                                   ELIZABETH T. HEY
                                                   UNITED STATES MAGISTRATE JUDGE
